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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

THE WAGNER AGENCY,                         )
                                           )
           Plaintiff,                      )
                                           )
      v.                                   )          Case No. 4:23 CV 1408 CDP
                                           )
JOHNSON & JOHNSON, INC., et al.,           )
                                           )
           Defendants.                     )

                          MEMORANDUM AND ORDER

      This matter is before the Court on plaintiff The Wagner Agency’s Motion to

Show Cause Against Subpoena Respondent American Modern Property and

Casualty Insurance Company, relating to a subpoena issued November 13, 2024, to

non-party American Modern under Federal Rule of Civil Procedure 45. In the

motion, Wagner seeks an Order 1) holding American Modern in contempt for

failure to timely respond to the subpoena, 2) compelling American Modern to fully

respond to the subpoena without objection, and 3) for recovery of its attorney’s

fees. A hearing was held on the motion on January 7, 2025. For the reasons stated

on the record at that hearing, I will deny the motion in its entirety, but without

prejudice to my retaining jurisdiction over disputes requiring Court resolution of

substantive issues that may remain after Wagner and American Modern meet and

confer in accordance with Local Rule 3.04(A) and are identified in a joint
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memorandum to be filed with the Court in accordance with my instructions below.

      Counsel for plaintiff Wagner and for non-party American Modern are

directed to meet and confer in good faith not later than January 17, 2025, regarding

the information sought by the subpoena at issue and to engage in sincere efforts to

resolve any disputes relating to American Modern’s production of documents as

requested in the subpoena. To the extent any disputes may remain after those

efforts, Wagner and American Modern shall file a joint memorandum with the

Court, not exceeding 15 pages in length, briefly setting out with specificity the

substance of the dispute, each side’s position on the dispute, and citation to

authority if any. The memorandum shall address the legal merits of each side’s

position; procedural posturing will not be tolerated. Wagner and American

Modern shall also file a separate joint statement that complies in all respects with

Local Rule 3.04(A), certifying that the meet-and-confer requirements of that Rule

have been met. Because I intend to rule on the dispute(s) identified in the joint

memorandum relating to the subpoena, separate motion practice is not permitted.

      I will suspend the current deadline of January 17, 2025, by which to file

motions to amend pleadings and/or to join parties and will permit the parties to file

such motions within seven days of my ruling on the dispute(s) raised, if any, in the

joint memorandum.




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      Accordingly,

      IT IS HEREBY ORDERED that plaintiff The Wagner Agency’s Motion to

Show Cause Against Subpoena Respondent American Modern Property [58] is

DENIED in its entirety, but without prejudice to the Court retaining jurisdiction

over disputes requiring Court resolution of substantive legal issues identified in a

joint memorandum filed in accordance with this Memorandum and Order.

      IT IS FURTHER ORDERED that not later than Friday, January 17,

2025, counsel for plaintiff The Wagner Agency and for non-party American

Modern Property and Casualty Insurance Company shall meet and confer in

accordance with Local Rule 3.04 and the directives of this Order regarding the

information sought in the Rule 45 subpoena issued November 13, 2024.

      IT IS FURTHER ORDERED that if any substantive disputes remain after

counsel meet and confer, not later than Friday, January 17, 2025, counsel for

The Wagner Agency and American Modern Property and Casualty Insurance

Company shall file a joint memorandum with the Court, not exceeding 15 pages in

length, briefly setting out with specificity the substance of the dispute, each side’s

position on the dispute, and citation to authority if any. Counsel shall append to

the joint memorandum a separate joint statement that complies in all respects with

Local Rule 3.04(A), certifying that the meet-and-confer requirements of that Rule

have been met.



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      IT IS FURTHER ORDERED that the current deadline of January 17,

2025, by which to file motions to amend pleadings and/or to join parties is

SUSPENDED pending the Court’s ruling on disputes identified in the joint

memorandum, if any.




                                        CATHERINE D. PERRY
                                        UNITED STATES DISTRICT JUDGE


Dated this 8th day of January, 2025.




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